06 Document #: 1-2 Filed: 07/22/21 Page 1 of 1 PagelID #:26

UCC FINANCING STATEMENT

FOLLOW INSTRUCTIONS

 

 

A. NAME & PHONE OF CONTACT AT FILER (optional) Filed in the office of |Document Number

 

 

CHRISTINE ADAMS Batak gpa 2019005454-7

B. E-MAIL CONTACT AT FILER (optional)
CADAMS@POLSINELLI.COM Barbara K. Cegavske
Secretary of State

Filing Date and Time

02/19/2019 1:36 PM

 

 

C. SEND ACKNOWLEDGMENT TO: (Name and Address) State of Nevada

 

 

 

 

[ CHRISTINE ADAMS |

POLSINELLI, PC
900 W. 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112

| _| (This document was filed electronically.)

THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

1. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
name will not fit in line 1b, leave all of item 1 blank, check here EC] and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UGC1Ad)

INFINTAY CARNAL MANAGEMENT

 

 

 

 

 

 

 

OR? INDIVIDUALS SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)/INITIAL(S) SUFFIX
ic. MAILING ADDRESS GITY STATE |POSTAL CODE GOUNTRY
1700 W HORIZON RIDGE PKWY #206 HENDERSON NV 89012 USA

 

 

 

 

 

2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
name will not fit in line 2b, leave all of item 2 blank, check here EC] and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UGC1Ad)

 

2a. ORGANIZATION'S NAME

 

2b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)/INITIAL(S) SUFFIX

 

 

2c. MAILING ADDRESS CITY STATE |POSTAL CODE COUNTRY

 

 

 

 

 

3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SEGURED PARTY): Provide only one Secured Party name (3a or 3b)

WASeLEGT ETM MEBICAL RECEIVABLES LITIGATION FINANCE FUND SP

 

 

 

OR 35 INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)/INITIAL(S) SUFFIX
3c. MAILING ADDRESS GITY STATE |POSTAL CODE GOUNTRY
403 SOUTH LA GRANGE ROAD LA GRANGE IL 60525 USA

 

 

 

 

 

4. COLLATERAL: This financing statement covers the following collateral:
ALL ASSETS.

 

5. Check only if applicable and check only one box: Collateral is [| held in a Trust (see UCC1Ad, item 17 and Instructions) [| being administered by a Decedent’s Personal Representative

 

 

 

 

 

 

6a. Check only if applicable and check only one box: 6b. Check only if applicable and check only one box:
LE] Public-Finance Transaction LC] Manufactured-Home Transaction CL A Debtor is a Transmitting Utility CL Agricultural Lien C] Non-UGC Filing
<<< << — — —<—
7. ALTERNATIVE DESIGNATION (if applicable): [_] Lessee/Lessor [_] Consignee/Gonsignor [| Seller/Buyer [| Bailee/Bailor [_] Licensee/Licensor

 

8. OPTIONAL FILER REFERENCE DATA:
088219-613507

International Association of Commercial Administrators (IACA)
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